Case 2:18-cv-14336-JEM Document 43 Entered on FLSD Docket 08/28/2020 Page 1 of 2



                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION
                        Case Number: 18-14336-CIV-MARTINEZ-REID


  KENNETH M. POLLAK,

         Petitioner,

  vs.

  JULIE JONES,

        Respondent.
  _____________________________________/

  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THIS CAUSE was referred to the Honorable Lisette M. Reid, United States Magistrate

  Judge, for a Report and Recommendation (“R&R”) on all dispositive matters, [ECF Nos. 2, 33].

  Magistrate Judge Reid filed a R&R, [ECF No. 39], recommending that Petitioner’s pro se

  Amended Petition for Habeas Corpus be denied as time-barred, no certificate of appealability be

  issued, and the case be closed. The Court has conducted a de novo review of the record, including

  the Amended Petition, [ECF No. 10], Petitioner’s Amended Appendix, [ECF No. 11], the

  government’s Responses, [ECF Nos. 19–21, 25–26], Petitioner’s Objections to the R&R, [ECF

  No. 42], and all other pertinent portions of the record.

         Having conducted such review, the Court agrees with Magistrate Judge Reid’s conclusion

  that Petitioner has failed to show (1) that equitable tolling is warranted, or (2) a claim of actual

  innocence. Accordingly, the Amended Petition is time-barred and must be dismissed. The Court

  adopts and incorporates Magistrate Judge Reid’s analysis herein.

         Accordingly, after careful consideration, it is hereby:

         ADJUDGED that United States Magistrate Judge Reid’s Report and Recommendation,
Case 2:18-cv-14336-JEM Document 43 Entered on FLSD Docket 08/28/2020 Page 2 of 2



  [ECF No. 39], is AFFIRMED and ADOPTED.

         Accordingly, it is

         ADJUDGED that:

         1.     Petitioner’s Amended Petition, [ECF No. 10], is DISMISSED as time-barred.

                Accordingly, his request to amend is DENIED AS MOOT.

         2.     No Certificate of Appealability shall issue.

         3.     This case is CLOSED, and all pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this 28th day of August, 2020.




                                                      ____________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Reid
  All Counsel of Record
  Kenneth M. Pollak, pro se




                                                -2-
